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 8

 9                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
10

11                                              Case No. 2:21-cv-07197-GW-JPR
      JACEY PACHA,
12                                              Hon. George H. Wu
13                 Plaintiff,
                                                FIRST AMENDED COMPLAINT
14    vs.                                       AND DEMAND FOR JURY TRIAL
15
      EGS FINANCIAL CARE, INC.,                    1. TCPA, 47 U.S.C. § 227
16

17                 Defendant.                      2. FDCPA 15 U.S.C. § 1692 et. seq.

18                                                 3. Invasion of Privacy – Intrusion
19                                                    Upon Seclusion
20

21                     FIRST AMENDED COMPLAINT FOR DAMAGES

22          Plaintiff, Jacey Pacha (“Plaintiff”), through her attorneys, alleges the following
23
      against EGS Financial Care, Inc. (“EGS” or “Defendant”):
24

25                                      INTRODUCTION
26    1.    Count I of Plaintiff’s Complaint is based upon the Telephone Consumer Protection
27

28

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 1    Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that broadly regulates the
 2
      use of automated telephone equipment. Among other things, the TCPA prohibits certain
 3

 4    unsolicited marketing calls, restricts the use of automatic dialers or prerecorded messages,

 5    and delegates rulemaking authority to the Federal Communications Commission
 6
      (“FCC”).
 7

 8    2.    Count II of Plaintiff’s Complaint is based upon the Fair Debt Collection Practices

 9    Act (“FDCPA”) 15 U.S.C. § 1692. The FDCPA is a federal statute that broadly prohibits
10
      persons from engaging in abusive and/or deceptive debt collection practices.
11

12    3.    Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy - Intrusion

13    upon Seclusion, as derived from § 652B of the Restatement (Second) of Torts. § 652B
14
      prohibits an intentional intrusion, “physically or otherwise, upon the solitude or seclusion
15

16    of another or his private affairs or concerns… that would be highly offensive to a
17    reasonable person.”
18
                                  JURISDICTION AND VENUE
19
20    4.    Subject matter jurisdiction of the Court arises under 47 U.S.C. § 227 et seq. and 28
21    U.S.C. 1331.
22
      5.    Plaintiff also brings this complaint under federal diversity jurisdiction, 28 U.S.C.
23

24    §1332, as the parties are completely diverse in citizenship (Plaintiff is a citizen
25    of Kansas and Defendant is a citizen of California) and the amount in controversy exceeds
26
      $75,000.
27

28

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 1    6.    Venue is proper pursuant to 28 U.S.C. 1391(b)(1) in that a substantial part of the
 2
      events or omissions giving rise to the claim occurred in this District.
 3

 4    7.    Defendant transacts business here; personal jurisdiction is established.

 5                                             PARTIES
 6
      8.    Plaintiff is a natural person residing in the State of Colorado.
 7

 8    9.    Defendant EGS is a debt collector with its principal place of business

 9    located in Irvine, California. EGS can be served through EGS’s registered agent,
10
      Corporation    Service    Company, located      at 2710   Gateway     Oaks     Drive,   Suite
11

12    150N, Sacramento, CA, 96833.

13    10.   Upon information and belief, Defendant is a vendor who places calls for Credit
14
      One Bank, N.A. (“Credit One”) posing as if it is a Credit One agent.
15

16    11.   Upon information and belief, Defendant is a call center debt collector who acts
17    independently from Credit One using their own agents and equipment to contact Plaintiff.
18
      Defendant is “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).
19
20    12.   Defendant acted through its agents, employees, officers, members, directors, heirs,
21    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
22
                                     PROCEDURAL HISTORY
23

24    13.   On or about January 22, 2020, Plaintiff filed a complaint in the United States District
25    Court in the District of Nevada against non-party Credit One alleging violations of the
26
      TCPA and an Invasion of Privacy – Intrusion Upon Seclusion claim.
27

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 1    14.    Plaintiff filed suit against Credit One with the intention of conducting limited
 2
      discovery to identify the actual parties responsible for placing the collection calls to her
 3

 4    cellular telephone.

 5    15.    On or about March 6, 2020, Credit One moved to dismiss Plaintiff’s claim and
 6
      compel arbitration.
 7

 8    16.    On or about October 29, 2020, the court granted Credit One’s motion and compelled

 9    Plaintiff to arbitration.
10
      17.    During the entire process, Plaintiff’s counsel informally sought the names of the
11

12    entities responsible for placing the calls to Plaintiff’s cell phone, but Credit One refused to

13    identify the entities absent a court or arbitrator compelling them to do so.
14
      18.    On or about November 11, 2020, Plaintiff initiated arbitration proceedings against
15

16    non-party Credit One. Plaintiff’s arbitration demand explicitly denied that the claims
17    against the non-party Does were arbitrable and the purpose of filing the arbitration demand
18
      was to learn the identities of the parties responsible for placing the calls to Plaintiff.
19
20    19.    On or about December 29, 2020, Plaintiff and Credit One agreed to stay the
21    arbitration proceedings pending the ruling from the Supreme Court in Facebook, Inc. v.
22
      Duguid, 141 S. Ct. 1163.
23

24    20.    On or about May 12, 2021, and after the Supreme Court’s ruling in Facebook, the
25    stay of arbitration proceeding was lifted.
26

27

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 1    21.    On or about July 29, 2021, Credit One provided their initial document exchange,
 2
      which identified Defendant as one of the parties responsible for making calls to Plaintiff
 3

 4    during the relevant time period.

 5                                  FACTUAL ALLEGATIONS
 6
      22.    Defendant is attempting to collect an alleged debt from Plaintiff on behalf of Credit
 7

 8    One.

 9    23.    Upon information and belief, Defendant regularly collects debt on behalf of
10
      original creditors; sometimes identifying themselves by their true identity and other times
11

12    using the identity of the creditor that hired them.

13    24.    In all instances, Defendant is using its own equipment and has control over its
14
      operations.
15

16    25.    Upon information and belief, Defendant has a vendor agreement with non-party
17    Credit One that allows them to collect debt on their behalf.
18
      26.    In or around May of 2019, Credit One’s third-party vendors began placing calls to
19
20    Plaintiff’s cellular phone, ending in 0322, in an attempt to collect an alleged debt.
21    27.    The calls placed by the third-party vendors originated from the following
22
      number(s): (956) 275-2195, (210) 674-9074, (856) 212-0932, (779) 218-8951, (435) 222-
23

24    5762, (973) 521-8112, (480) 400-1280, (914) 650-0851, (661) 553-4132, (480) 510-3471,
25    (567) 318-6402, (501) 443-8114, (567) 318-6352, (213) 418-1639, (434) 829-4342, (531)
26
      200-6514, (531) 200-6565, (531) 200-6616, (531) 365-8420, (531) 365-8220, (531) 200-
27

28

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 1    2911, (531) 200-6013, (402) 287-7704, (402) 287-7761, (402) 287-7807, (531) 200-2808,
 2
      (531) 365-8317, (402) 287-7774, (531) 200-6011, (531) 200-2808, (531) 200-2909, (531)
 3

 4    200-0387, (531) 365-8217, (531) 365-8320, (531) 200-0417, (531) 365-8417, (402) 287-

 5    7704, (531) 200-0387, (531) 200-0417, and (402) 287-7807
 6
      28.   Upon information and belief, each time the third-party vendors, including
 7

 8    Defendant, would call Plaintiff they falsely represented themselves as Credit One.

 9    29.   On or about May 11, 2019, at 2:13 p.m., Plaintiff answered a collection call from
10
      iEnergizer Inc. (“iEnergizer”), one of Credit One’s third-party vendors. Plaintiff spoke
11

12    with iEnergizer’s representative from telephone number (956) 275-2195. Plaintiff heard

13    a short pause before one of iEnergizer’s agents began to speak, indicating the use of an
14
      automated telephone dialing system.
15

16    30.   iEnergizer informed Plaintiff that it was attempting to collect a debt relating to her
17    Credit One account.
18
      31.   During the call, Plaintiff unequivocally revoked consent to be called any further.
19
20    Plaintiff informed iEnergizer that she was unable to make a payment and requested that
21    any further communication to her cellular phone cease.
22
      32.   Despite Plaintiff’s request not to be contacted on her cellular phone any further, the
23

24    third-party vendors, including Defendant, continued to contact Plaintiff with calls to her
25    cellular telephone multiple times a day for nearly five (5) months.
26

27

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 1    33.    Between May 11, 2019, and October 8, 2019, the third-party vendors called
 2
      Plaintiff no less than SIX-HUNDRED AND THIRTY-TWO (632) times, with Plaintiff
 3

 4    receiving five (5) to seven (7) calls in one day and occasionally up to eight (8) times in

 5    one day. On one occasion, the third-party vendors called Plaintiff ten (10) times in one
 6
      day.
 7

 8    34.    Upon information and belief, out of the SIX-HUNDRED AND THIRTY-TWO

 9    (632) phone calls placed to Plaintiff’s cellular telephone, Defendant EGS placed FOUR
10
      HUNDRED AND EIGHTY-NINE (489) of the calls, non-party iEnergizer placed ONE
11

12    HUNDRED AND SIX (106) of the calls, and non-party First Contact, LLC placed

13    THIRTY-SEVEN (37) of the calls.
14
      35.    When Plaintiff answered calls from Defendant, she heard a short pause before one
15

16    of Defendant’s agents began to speak, indicating the use of an automated telephone
17    dialing system.
18
      36.    Defendant often called Plaintiff multiple times in the same day, indicating the use
19
20    of a random or sequential number generator to: a) determine the order in which to select
21    phone numbers to be dialed from a preproduced list; and b) store and dial those numbers
22
      at later time when Plaintiff did not answer.
23

24    37.    Upon information and belief, Defendant called Plaintiff’s cellular telephone using
25    an artificial prerecorded voice.
26
      38.    Upon information and belief, Defendant left automated voicemail messages on
27

28

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 1    Plaintiff’s cellular telephone.
 2
      39.    Defendant’s calls were excessive and done with the purpose of attempting to harass
 3

 4    Plaintiff into making a payment on the Account. Furthermore, Defendant’s tactic of

 5    switching amongst a myriad of phone numbers was done in order to trick Plaintiff into
 6
      answering the calls.
 7

 8    40.    Upon information and belief, the third-party vendors, including Defendant, all have

 9    access to Plaintiff’s account notes and call records, and were aware that Plaintiff was
10
      dealing with financial issues and requested for calls to her cellular telephone to cease, but
11

12    willfully ignored her situation and her request for them to stop its campaign of harassing

13    phone calls.
14
      41.    Upon information and belief, Defendant placed the collection calls on behalf of
15

16    Credit One, posing to be Credit One and hiding their true identity.
17    42.    Upon information and belief, Defendant has a contractual agreement with Credit
18
      One to collect consumer debts on Credit One’s behalf.
19
20    43.    Defendant misrepresented and deceived Plaintiff as to their identity.
21    44.    Defendant placed telephone calls to Plaintiff without a meaningful disclosure as to
22
      their identity.
23

24    45.    Upon information and belief, Defendant intentionally and knowingly refrains from
25    disclosing its true identity so as to try and avoid the requirements of the FDCPA.
26
      46.    Upon information and belief, Defendant is separate and distinct entity from non-
27

28

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 1    party Credit One.
 2
      47.      Upon information and belief, Defendant is in the business of collecting debts owed
 3

 4    or due or asserted to be owed or due another.

 5    48.      Defendant’s conduct was done willfully and knowingly.
 6
      49.      Upon information and belief, Defendant was calling third parties, including friends
 7

 8    and family, to coerce Plaintiff to make a payment on the Account.

 9    50.      Defendant’s barrage of calls to Plaintiff’s cellphone caused constant disruption and
10
      distraction to her daily life, as well as embarrassment and humiliation because her phone
11

12    would ring constantly while she was with family and friends.

13    51.      As a result of Defendant’s conduct, Plaintiff has sustained actual damages
14
      including but not limited to, emotional and mental pain and anguish.
15

16                                              COUNT I
                                             All Defendants
17                              Violations of the TCPA, 47 U.S.C. § 227
18
      52.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
19
20    though fully stated herein.
21    53.      Defendant violated the TCPA. Defendant’s violations include, but are not limited
22
      to the following:
23

24          a. Within four years prior to the filing of this action, on multiple occasions, Defendant
25             violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, “It
26
               shall be unlawful for any person within the United States . . . to make any call (other
27

28

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 1            than a call made for emergency purposes or made with the prior express consent of
 2
              the called party) using any automatic telephone dialing system or an artificial or
 3

 4            prerecorded voice — to any telephone number assigned to a . . . cellular telephone

 5            service . . . or any service for which the called party is charged for the call.
 6
           b. Within four years prior to the filing of this action, on multiple occasions, Defendant
 7

 8            willfully and/or knowingly contacted Plaintiff at Plaintiff’s cellular telephone using

 9            an artificial prerecorded voice or an automatic telephone dialing system and as
10
              such, Defendant knowing and/or willfully violated the TCPA.
11

12   54.      As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled to an

13   award of five hundred dollars ($500.00) in statutory damages, for each and every
14
     violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant
15

16   knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an award of one
17   thousand five hundred dollars ($1,500.00), for each and every violation pursuant to 47
18
     U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
19
20                                             COUNT II
                            Violations of the FDCPA 15 U.S.C. § 1692 et. seq.
21

22   55.      Plaintiff incorporates the foregoing paragraphs as though the same were set forth
23   at length herein.
24
     56.      The FDCPA prohibits the “use of any business, company, or organization name
25

26   other than the true name of the debt collector's business, company, or organization.” 15
27   U.S.C. § 1692e(14).
28

                     FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   57.   The FDCPA also requires that in its initial communication with a consumer, a debt
 2
     collector disclose that the “debt collector is attempting to collect a debt and that any
 3

 4   information obtained will be used for that purpose ….” 15 U.S.C.A. § 1692e(11). See

 5   Costa v. Nat'l Action Fin. Servs., 634 F. Supp. 2d 1069, 1075 (E.D. Cal. 2007) (citing
 6
     Hosseinzadeh v. M.R.S. Assocs., Inc., 387 F. Supp. 2d 1104, 1112 (C.D. Cal. 2005)
 7

 8   finding “‘meaningful disclosure’ presumably requires that the caller must state his or her

 9   name and capacity, and disclose enough information so as not to mislead the recipient as
10
     to the purpose of the call or the reason the questions are being asked.”)
11

12   58.   Defendant violated 15 U.S.C. § 1692e(14) and 15 U.S.C. § 1692e(11) each time

13   they contacted Plaintiff because it failed to truthfully and correctly identify themselves.
14
     Defendant did not inform Plaintiff that they were collecting the alleged debt on behalf of
15

16   Credit One, they identified themselves as Credit One.
17   59.   Additionally, the FDCPA prohibits a debt collector from “causing a telephone to
18
     ring or engaging any person in telephone conversation repeatedly or continuously with
19
20   intent to annoy, abuse, or harass any person at the called number.” 15 U.S.C.A. § 1692d.
21   60.   Defendant incessantly called Plaintiff despite the clear revocation of her consent.
22
     The frequency of the phone calls is violative of the FDCPA on its own.
23

24   61.   Defendant’s actions, as described above, were done willfully and intentionally.
25   62.   As a result of the foregoing violations of the FDCPA, Defendant is liable to
26
     Plaintiff for actual damages, statutory damages, and attorney’s fees and costs.
27

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 1                                           COUNT III
 2
                                          Invasion of Privacy
                                      (Intrusion upon Seclusion)
 3

 4   63.      Plaintiff incorporates herein by reference all of the above paragraphs of this

 5   complaint as though fully set forth herein at length.
 6
     64.      Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are not
 7

 8   limited to, the following:

 9         a. Defendant intentionally intruded, physically or otherwise, upon Plaintiff’s
10
              solitude and seclusion by engaging in harassing phone calls in an attempt to
11

12            collect on an alleged debt despite requests for the calls to cease.

13         b. Defendant’s conduct would be highly offensive to a reasonable person as Plaintiff
14
              received calls that interrupted Plaintiff’s work and sleep schedule.
15

16         c. Defendant’s acts, as described above, were done intentionally with the purpose of
17            coercing Plaintiff to pay the alleged debt.
18
     65.      As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable to
19
20   Plaintiff for actual damages. If the Court finds that the conduct is found to be egregious,
21   Plaintiff may recover punitive damages.
22
                                        PRAYER FOR RELIEF
23

24   WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant
25   for the following:
26
     A.        Declaratory judgment that Defendant violated the TCPA and FDCPA;
27

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 1   B.     Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
 2
            227(b)(3)(C);
 3

 4   C.     Statutory damages pursuant to 15 U.S.C. §1692k(a)(2)(B);

 5   D.     Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
 6
     E.     Actual and punitive damages for intruding upon Plaintiff’s seclusion;
 7

 8   F.     Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. 1692k(3);

 9   G.     Awarding Plaintiff any pre-judgment and post-judgment interest as may be
10
            allowed under the law; and
11

12   H.     Any other relief that this Honorable Court deems appropriate.

13                                 DEMAND FOR JURY TRIAL
14
     Please take notice that Plaintiff demands a trial by jury in this action.
15

16                                                  RESPECTFULLY SUBMITTED,

17
                                                    PRICE LAW GROUP, APC
18

19   Date: October 21, 2021                         By: /s/Lauren Tegan Rodkey
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26

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